            Case 1:20-cr-00523-GHW Document 8 Filed 10/20/20 Page 1 of 2
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                                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 10/20/2020
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                                                               :
 UNITED STATES OF AMERICA,                                     :
                                                               :
                                                 Plaintiff, :
                              -v-                              :
                                                               :       1:20-cr-523-GHW-1
 MEDGHYNE CALONGE,                                             :
                                            Defendants. :                    ORDER
                                                               :
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GREGORY H. WOODS, District Judge:

         It is hereby ORDERED that a Status Conference is scheduled for October 21, 2020, at

11:00 a.m. The Status Conference will take place by Skype for Business videoconference. To access

the conference, paste the following link into your browser:

https://meet.lync.com/fedcourts-nysd/gregory_woods/YDT2TCL7


         To use this link, you may need to download software to use Skype’s videoconferencing

features. 1 Participants are directed to test their videoconference setup in advance of the conference

-- including their ability to access the link above. Users who do not have an Office 365 account may

use the “Join as Guest” option. When you successfully access the link, you will be placed in a

“virtual lobby” until the conference begins. Participants should also ensure that their webcam,

microphone, and headset or speakers are all properly configured to work with Skype for Business.

For further instructions concerning Skype for Business and general guidelines for participation in

video and teleconferencing, visit https://nysd.uscourts.gov/covid-19-coronavirus.




1
 See Microsoft, Install Skype for Business (last visited Apr. 29, 2020), https://support.office.com/en-
us/article/install-skype-for-business-8a0d4da8-9d58-44f9-9759-5c8f340cb3fb.
           Case 1:20-cr-00523-GHW Document 8 Filed 10/20/20 Page 2 of 2



        If you intend to join the conference from an Apple device, you should ensure that you are

running a version of Skype for Business that was published on or after April 28, 2020. 2 Users

running earlier versions have encountered an issue in which Skype for Business does not receive any

inputs from the computer’s microphone, and they cannot be heard by other participants.

        IT IS FURTHER ORDERED that members of the press, public, or counsel who are unable

to successfully access Skype for Business, may access the conference audio using the following

credentials:

        Call-in number: 1 (917) 933-2166

        Conference ID: 742020057


Dated: October 20, 2020



                                                            ____________________________
                                                                   Gregory H. Woods
                                                               United States District Judge




2
 See, e.g., Microsoft, Skype for Business on Mac (last visited May 5, 2020),
https://www.microsoft.com/en-us/download/details.aspx?id=54108.

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